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                       United States District Court
                      Northern District of New York
                             Civil Judgment
Lamar Advertising of Penn, LLC,

                  Plaintiff,                        Case Number:

            -v-                                   5:05cv0375 (NAM/GHL)

John Pitman, Mayor, The Village of
Marathon, The Village of Marathon
Zoning Board of Appeals, The Village
of Marathon Planning Board, Derek Raimo,
Code Enforcement Officer, and
Atlantic-Inland, Inc.,

                  Defendant(s).

     (XX) Decision by Court. This action came to trial or hearing
before the Court. The issues have been tried or heard and a decision
has been rendered.

     IT IS ORDERED AND ADJUDGED, that the Plaintiff's Motion for
Summary Judgment is denied, and it is further

     ORDERED AND ADJUDGED, that the Motion for Summary Judgment by
defendants John Pitman, Village of Marathon, Village of Marathon Zoning
Board of Appeals and Village of Marathon Planning Board is granted, and
it is further

     ORDERED AND ADJUDGED, that the Motion for Summary Judgment by
Defendants Derek Raimo and Atlantic-Inland, Inc., is granted. This
action is dismissed in its entirety on the merits.

     All of the above pursuant to an Order from the Chief United States
District Court Judge Norman A. Mordue, dated August 6, 2008.

Dated: August 7, 2008                  Lawrence K. Baerman, Clerk




                                       By: Marie N. Marra, Deputy Clerk
